Case 6:23-cv-00553-JCB Document 45 Filed 03/08/24 Page 1 of 1 PageID #: 940




                 UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF TEXAS

                                  No. 6:23-cv-00553

           Chamber of Commerce of the United States of America et al.,
                                 Plaintiffs,
                                       v.
                      National Labor Relations Board et al.,
                                  Defendants.


                            F I NA L J U D G M E N T

              It is declared that enforcement against plaintiffs or their mem-
          bers of the rule issued by the National Labor Relations Board on
          October 27, 2023, entitled Standard for Determining Joint Em-
          ployer Status, 88 Fed. Reg. 73,946, would be contrary to law as to
          the rule’s addition of a new 29 C.F.R. § 103.40 and arbitrary and
          capricious as to its removal of the existing 29 C.F.R. § 103.40
          (2020). In both respects, the rule is hereby vacated.
              All other relief prayed for is denied without prejudice, except
          for attorneys’ fees and costs, which may be moved for after this
          final judgment. See Fed. R. Civ. P. 54(d).
             The clerk of court is directed to enter this document on the
          docket as a final judgment. See Fed. R. Civ. P. 58.

                                    So ordered by the court on March 8, 2024.



                                              J. Campbell Barker
                                              United States District Judge
